                   Case 24-42952                 Doc 2          Filed 12/05/24 Entered 12/05/24 17:28:57                               Desc Main
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      Fill in this information to identify the case:

                  Visalus, Inc.
      Debtor name __________________________________________________________________

                                              Eastern
      United States Bankruptcy Court for the: ______________________              Texas
                                                                     District of _________
                                                                                 (State)
                                                                                                                                             Check if this is an
      Case number (If known):    _________________________
                                                                                                                                                amended filing




    Official Form 204
    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest
    Unsecured Claims and Are Not Insiders                                    12/15

    A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the debtor
    disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not include claims by
    secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor among the holders of the 20
    largest unsecured claims.


     Name of creditor and complete                Name, telephone number, and   Nature of the claim Indicate if   Amount of unsecured claim
     mailing address, including zip code          email address of creditor     (for example, trade claim is      If the claim is fully unsecured, fill in only unsecured
                                                  contact                       debts, bank loans,  contingent, claim amount. If claim is partially secured, fill in
                                                                                professional        unliquidated, total claim amount and deduction for value of
                                                                                services, and       or disputed collateral or setoff to calculate unsecured claim.
                                                                                government
                                                                                contracts)
                                                                                                                     Total claim, if    Deduction for     Unsecured
                                                                                                                     partially          value of          claim
                                                                                                                     secured            collateral or
                                                                                                                                        setoff
      Certified Class in Wakefield v. Visalus J. Aaron Lawson                   Legal                 U, D
1     c/o Scott F. Kocher                     alawson@edelson.com
                                              EDELSON PC                                                                                                 $925,000,000.00
      Forum Law Group
                                              150 California St., 18th Floor
      811 S.W. Naito Pkwy, Ste. 420           San Francisco, CA 94111
      Portland, OR 97204                      T: 415.212.9300

2    Gibson Dunn                                                                Professional          D
     333 South Grand Ave                                                        Services
                                                                                                                                                             $216,992.14
     Los Angeles, CA 90071-3197

3    Manatt, Phelps & Phillips, LLP                                             Professional          D
     2049 Century Park E #1700                                                  Services
                                                                                                                                                             $121,660.35
     Los Angeles, CA 90067

     Verizon                                                                    Utility
4
     One Verizon Way
                                                                                                       D
     Basking Ridge, New Jersey 07920                                                                                                                          $77,704.07



5    Wilkinson Barker Knauer, LLP                                               Professional          D
     1800 M Street NW Suite 800N                                                Services
                                                                                                                                                              $44,873.00
     Washington, DC 20036

      Morgan Lewis & Bockius                                                    Legal                 D
6
      300 S Grand Ave 22nd Floor                                                                                                                              $26,616.56
      Los Angeles, CA 90071-3132

7
      Vedder Price                                                              Professional          D
      1925 Century Park East Ste 1900                                           Services
      Los Angeles, California 90067                                                                                                                           $26,051.70



8     Jackson Lewis                                                             Legal                 D
      725 S Figueroa St Ste 2500                                                                                                                              $24,249.79
      Los Angeles, CA 90017




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                                                         Document    Page 2 of 2

    Debtor       Visalus, Inc.
                 _______________________________________________________                     Case number (if known)_____________________________________
                 Name




     Name of creditor and complete         Name, telephone number, and   Nature of the claim Indicate if   Amount of unsecured claim
     mailing address, including zip code   email address of creditor     (for example, trade claim is      If the claim is fully unsecured, fill in only unsecured
                                           contact                       debts, bank loans,  contingent, claim amount. If claim is partially secured, fill in
                                                                         professional        unliquidated, total claim amount and deduction for value of
                                                                         services, and       or disputed collateral or setoff to calculate unsecured claim.
                                                                         government
                                                                         contracts)
                                                                                                              Total claim, if    Deduction for     Unsecured
                                                                                                              partially          value of          claim
                                                                                                              secured            collateral or
                                                                                                                                 setoff


9     JAMS                                                               Legal                 D
      555 W 5th St 32nd Floor                                                                                                                          $24,212.21
      Los Angeles, CA 90013

10 Seyburn Kahn, P.C.                                                    Legal                 D
      2000 Town Center Ste. 1500
                                                                                                                                                       $22,238.00
      Southfield, MI 48075

11 Gemini Pharmaceuticals                                                Vendor                D
      87 Modular Ave                                                                                                                                   $22,029.00
      Commack, NY 11725

12 Brownstein Hyatt Farber                                               Legal                 D
   Schreck, LLP
                                                                                                                                                       $17,743.00
   2049 Century Park E Ste 3550
   Los Angeles, California 90067-3

13 UPS                                                                   Professional          D
      55 Glenlake Parkway NE                                             Services                                                                      $16,183.70
      Atlanta, GA 30328

14 Westin Peachtree Plaza                                                Professional          D
      210 Peachtree St NW                                                Services                                                                      $15,819.00
      Atlanta, GA 30303

15 TPx                                                                   Utility               D
      303 Colorado St Ste 2075                                                                                                                         $14,193.00
      Austin, TX 78701


16 CCH Incorporated                                                      Professional          D
      2050 W 190th St                                                    Services                                                                      $14,059.00
      Torrance, CA 90504

17 The Bureau of National Affairs Inc.                                   Professional          D
   1801 S Bell St Fl 5                                                   Services                                                                      $13,426.00
   Arlington, VA, 22202-4506

      Cogent                                                             Utility               D
18
      3331 W Big Beaver Road Ste 210
      Troy, MI 48084                                                                                                                                   $10,530.86



19 Goodwin Procter LLP                                                   Legal                 D
      601 S Figueroa St 41st Floor                                                                                                                      $9,154.00
      Los Angeles, CA 90017

20 Pure Waters                                                           Professional          D
      720 S Garfield                                                     Services                                                                       $6,375.00
      Traverse City, MI 49686




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